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Davicl R. Pao|i

Pao|i, Latino & Kutzman, P.C.
257 West Front Street, suite A
P.O. Box 8131

l\/lissoula, lVl`l' 59802
Telephone: (406) 542-3330

Stephen D. Ochs, lV|.D., J.D.
805 South Reserve St.
l\/lissoula, |\/lT 59804

Attorneys for Plaintiffs

UN|TED STATES DISTR|CT COURT
FOR THE DlSTRlCT OF MONTANA
BlLLlNGS DIV|SION

 

DEN|SE FABR|ZIUS and

 

W|LLlA|\/l FABR|Z|US, Cause No.: 08-'|14-Bl_G-RFC
Plaintiffs,
vs.
P|aintiff’s Motion for Partial
DR. KE|TH R. SHULTZ, l\/l.D., Summary Judgment Regarding
YELLOWSTONE SURGERY Ye|lowstone Surgery Center’s
CENTER, DOES 1 through X, and Liability for the Actions of Dr.
DOES 1 through X, inclusive, Keith Shultz
Defendants.

 

Plaintiffs Denise Fabrizius and William Fabrizius hereby
move this Court for partial summaryjudgment finding Yellowstone Surgery
Center (“YSC”) is liable for the actions of Dr. Keith R. Shultz While
performing his duties at Ye|lowstone Surgery Center. This motion is
supported by Plaintiffs’ Brief in Support.

Plaintiff’s Motion for Partial Summary .Tudgment - 1

 

 

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The undersigned has contacted counsel for Defendant YSC and he
objects to this motion.
Dated this 31Stday ot August, 2009.

/s/ David R. Paoli
David Paoli
Paoli, Latino, Kutzman, P.C.
257 West Front Street
P. O. Box 8131
|\/|issou|a, |V|T 59802
Attorne y for Plaintiffs

Plaintifi’s Motion for Partial Summary Judgment - 2

 

